 Case 1:16-mj-00186-PJG           ECF No. 17, PageID.33           Filed 07/20/16       Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION



 UNITED STATES OF AMERICA,

               Plaintiff,
                                                              Hon. Phillip J. Green
 v.
                                                              Case No. 1:16-mj-00186-PJG-1
 KEVIN ALLAN ROBERTS,

            Defendant.
 _________________________________/


                                                ORDER

       This matter is before the Court on the government’s motion for pretrial detention. The

government sought defendant’s detention on two bases: (1) that he poses a danger to other persons in

the community, 18 U.S.C. § 3142(f)(1); and (2) that he poses a serious risk of flight. 18 U.S.C.

§ 3142(f)(2)(A). The Court conducted an evidentiary hearing today at which defendant was represented

by counsel. The Court has also considered the information contained in the Pretrial Services Report.

(ECF No. 10). Defendant is charged in a Criminal Complaint with felon in possession of a firearm (ECF

No. 1), for which the Court found probable cause.

       For the reasons stated on the record, the Court finds that the government has proven by clear and

convincing evidence that defendant poses a danger to the community, and by preponderant evidence that

he poses a significant risk of nonappearance. The Court also finds, as explained on the record, that there

is no condition or combination of conditions that will ensure the safety of other persons in the

community. Accordingly,
 Case 1:16-mj-00186-PJG        ECF No. 17, PageID.34          Filed 07/20/16     Page 2 of 2




       IT IS ORDERED that defendant is committed to the custody of the Attorney General pending

further order of this Court.

       DONE AND ORDERED this 20th day of July, 2016.

                                                     /s/ Phillip J. Green
                                                    PHILLIP J. GREEN
                                                    United States Magistrate Judge




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